                                  Case: 1:23-cv-02039 Document #: 1-1 Filed: 03/31/23 Page 1 of 1 PageID #:19
JS 44 (Rev. 3/13)                                                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
    Lester Dobbey et, al.                                                                                      Rob Jeffreys, et, al.

    (b) County of Residence of First Listed Plaintiff               Vermilion                                  County of Residence of First Listed Defendant               Sangamon
                                       (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
    Brad Thomson                                                                                                Sarah Newman
    People's Law Office
    1180 N. Milwaukee Ave. 3rd Floor                                                                            Assistant Attorneys General
    Chicago IL, 60642                                                                                           General Law Bureau
    773-235-0070                                                                                                100 W. Randolph St., 13th Floor

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                         and One Box for Defendant)
 1     U.S. Government                   ✔ 3 Federal Question
                                                                                                                                  PTF            DEF                                       PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State          1             1   Incorporated or Principal Place       4      4
                                                                                                                                                          of Business In This State
 2     U.S. Government                    4 Diversity                                              Citizen of Another State           2         2   Incorporated and Principal Place       5       5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State
                                                                                                     Citizen or Subject of a            3         3   Foreign Nation                         6       6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                         (Place an “X” in One Box Only)
            CONTRACT                                              TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
   110 Insurance                          PERSONAL INJURY                 PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                             310 Airplane                  365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                     400 State Reapportionment
   130 Miller Act                         315 Airplane Product               Product Liability      690 Other                                 28 USC 157                     410 Antitrust
   140 Negotiable Instrument                    Liability                367 Health Care/                                                                                     430 Banks and Banking
   150 Recovery of Overpayment            320 Assault, Libel &               Pharmaceutical                                                PROPERTY RIGHTS                    450 Commerce
        & Enforcement of Judgment                Slander                       Personal Injury                                              820 Copyrights                     460 Deportation
   151 Medicare Act                       330 Federal Employers’             Product Liability                                            830 Patent                         470 Racketeer Influenced and
   152 Recovery of Defaulted                    Liability                368 Asbestos Personal                                            840 Trademark                           Corrupt Organizations
        Student Loans                      340 Marine                         Injury Product                                                                                   480 Consumer Credit
        (Excludes Veterans)                345 Marine Product                 Liability                          LABOR                         SOCIAL SECURITY                 490 Cable/Sat TV
   153 Recovery of                              Liability                PERSONAL PROPERTY             710 Fair Labor Standards              861 HIA (1395ff)                850 Securities/Commodities/
        of Veteran’s Benefits              350 Motor Vehicle             370 Other Fraud                    Act                              862 Black Lung (923)                 Exchange
   160 Stockholders’ Suits                355 Motor Vehicle             371 Truth in Lending         720 Labor/Management                  863 DIWC/DIWW (405(g))          890 Other Statutory Actions
   190 Other Contract                          Product Liability         380 Other Personal                 Relations                        864 SSID Title XVI              891 Agricultural Acts
   195 Contract Product Liability         360 Other Personal                 Property Damage          740 Railway Labor Act                 865 RSI (405(g))                893 Environmental Matters
   196 Franchise                               Injury                    385 Property Damage          751 Family and Medical                                                 895 Freedom of Information
                                           362 Personal Injury -              Product Liability              Leave Act                                                              Act
                                                Medical Malpractice                                     790 Other Labor Litigation                                             896 Arbitration
        REAL PROPERTY                         CIVIL RIGHTS               PRISONER PETITIONS             791 Employee Retirement             FEDERAL TAX SUITS                  899 Administrative Procedure
   210 Land Condemnation                  440 Other Civil Rights        510 Motions to Vacate             Income Security Act            870 Taxes (U.S. Plaintiff               Act/Review or Appeal of
   220 Foreclosure                        441 Voting                         Sentence                                                           or Defendant)                      Agency Decision
   230 Rent Lease & Ejectment             442 Employment                 Habeas Corpus:                                                   871 IRS—Third Party                950 Constitutionality of
   240 Torts to Land                      443 Housing/                  530 General                                                            26 USC 7609                        State Statutes
   245 Tort Product Liability                  Accommodations            535 Death Penalty
   290 All Other Real Property            445 Amer. w/Disabilities      540 Mandamus & Other            IMMIGRATION
                                                Employment                550 Civil Rights           462 Naturalization Application
                                           446 Amer. w/Disabilities      555 Prison Condition       463 Habeas Corpus -
                                                Other                     560 Civil Detainee -            Alien Detainee
                                           448 Education                      Conditions of               (Prisoner Petition)
                                                                               Confinement            465 Other Immigration
                                                                                                           Actions
V. ORIGIN (Place an “X” in One Box Only)
 1 Original                   2 Removed from                3   Remanded from               ✔ 4
                                                                                                    Reinstated or             5   Transferred from        6   Multidistrict
    Proceeding                    State Court                      Appellate Court                   Reopened                       Another District             Litigation
                                                                                                                                    (specify)

VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                         VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
                                                                                                     number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
write a brief statement of cause.)
                                                                                                     Use a separate attachment if necessary.
42 USC 1983
VIII. REQUESTED IN  CHECK IF THIS IS A CLASS ACTION                                                     DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                   UNDER RULE 23, F.R.Cv.P.                                                                                            JURY DEMAND:         ✔ Yes
                                                                                                                                                                                     No

IX. RELATED CASE(S)
      IF ANY                    (See instructions):
                                                          JUDGE                                                                                 DOCKET NUMBER
X. This case (check one box)  Is not a refiling of a previously dismissed action                        ✔ is a refiling of case number ____________
                                                                                                                                        19-cv-3272  previously dismissed by Judge ________________
                                                                                                                                                                                    Gettleman


DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
           March 31, 2023                                                                                                /s/ Brad J. Thomson
